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 8                               UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:14-CR-00201-JLT
12                      Plaintiff,                     ORDER DENYING DEFENDANT’S
                                                       MOTION FOR SENTENCE REDUCTION
13          v.
                                                       (Doc. 54)
14   FAUSTO ARTHUR CRUZ-
     HERNANDEZ,
15
                        Defendant.
16

17          Fausto Arthur Cruz-Hernandez seeks a reduction in his sentence based upon the

18   Amendments to the United States Sentencing Guidelines, by noting that he received two “status

19   points” for being on parole at the time he committed the crime at issue. Though it is apparent

20   that under the Amendments Mr. Cruz-Hernandez is entitled to a one-point reduction in his

21   criminal history points, this reduction will not impact his criminal history category.

22   Consequently, because the sentence imposed would not change, his motion is DENIED.

23          I.      ANALYSIS

24          Mr. Cruz-Hernandez pleaded guilty to one count of bank robbery (18 U.S.C. § 2113(a)),

25   bank fraud (18 U.S.C. § 1344). (Docs. 13, 14) At the sentencing hearing, the Court determined

26   Mr. Cruz-Hernandez was a career offender, due to his prior conviction for two prior felonies

27   constituting crimes of violence and because the current offense was a crime of violence. (Doc.

28   16 at 6) In addition, due to his numerous other convictions, the Court determined he had earned
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 1   12 criminal history points. Id. at 14. Because he was under a term of supervision at the time he

 2   committed the offenses at issue, the Court added two additional points to the total as indicated by

 3   former § 4A1.1(d) of the United States Sentencing Guidelines. Id. According to the Sentencing

 4   Table in USSG Chapter 5, Part A, these 14 criminal history points, placed him in a criminal

 5   history category VI. Id. Moreover, by virtue of being determined to be a career offender, he was

 6   determined, automatically, to be placed in criminal history category VI. USSG

 7   §4B1.1(b).

 8          As noted by Mr. Cruz-Hernandez, § 4A1.1(e) of the United States Sentencing Guidelines

 9   has been amended to allow impose only one added status point for those who commit their

10   crimes while under supervision if the defendant has at least seven criminal history points by that

11   time. As noted above, Mr. Cruz-Hernandez’s status as a career offender placed him Criminal

12   History Category VI no matter how many criminal history points he had accumulated. Moreover,

13   even were his criminal history points reduced to 13, this still results in a criminal history

14   category VI, because this category applies in all cases where there are 13 criminal history points

15   or more. Thus, even reducing his status points to a single point, would have no impact on his

16   sentence. Thus, because the Amendment to § 4A1.1(e) provides him no relief, the motion to

17   reduce his sentence (Doc. 54) is DENIED.

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     IT IS SO ORDERED.
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20      Dated:     June 7, 2024
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